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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION



UNITED STATES OF AMERICA                         )
                                                 )
            v.                                   )   CR. NO. 2:07cr098-001-WHA
                                                 )
MICHAEL CARL TOLES, JR.                          )


                                          ORDER
        The defendant by consent has appeared before a United States Magistrate Judge and has
entered a plea of guilty. The Magistrate Judge accepted the plea of guilty and has adjudicated
the defendant guilty. Accordingly, it is ORDERED as follows:

        1. Sentencing of the defendant is hereby set on February 21, 2008, at 10:00 a.m.,
Courtroom 2-C, the Frank M. Johnson, Jr. United States Courthouse Complex, One Church
Street, Montgomery, Alabama.

        2. In accordance with Rule 32(f)(1), Federal Rules of Criminal Procedure, counsel for
the defendant and the Government shall communicate in writing to the probation officer, and to
each other, any objections they have as to any material information, sentencing classifications,
sentencing guideline ranges, and policy statements contained in or omitted from the presentence
report. The probation officer will notify parties of the objection deadline and will schedule a
conference to discuss and resolve, if possible, any factual and legal issues contained in the
presentence report.

        3. Any motion for downward departure shall be filed on or before the conference date
with the probation officer, unless based on unknown and unforeseen circumstances arising after
that date, in which case the motion must be filed promptly upon discovery of such
circumstances.

        Nothing contained in this Order shall be construed as impairing the rights of any party as
established in the Constitution or laws of the United States.

       DONE this 5th day of December, 2007.




                                                       /s/ W. Harold Albritton
                                                       UNITED STATES DISTRICT JUDGE
